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 1   Elisabeth Holmes (OSB No. 120254)
     Willamette Riverkeeper
 2   P.O. Box 293
 3   Eugene, Oregon 97440
     Tel. (541) 870-7722 (No facsimile)
 4   Email: eli@willametteriverkeeper.org

 5   Bryan Telegin (OSB No. 105253)
     Zachary K. Griefen (WSBA No. 48608), Admitted Pro Hac Vice
 6   Bricklin & Newman LLP
 7   123 NW 36th Street, Suite 205
     Seattle, WA 98107
 8   Tel. (206) 264-8600 (No facsimile)
     Emails: telegin@bnd-law.com and griefen@bnd-law.com
 9
     Attorneys for Plaintiff
10

11   G. Kevin Kiely, OSB No. 833950
     gkkiely@cablehuston.com
12   James S. Kincaid, OSB No. 872773
     jkincaid@cablehuston.com
13   Laura C. Maffei, OSB No. 993177
     lmaffei@cablehuston.com
14
     CABLE HUSTON LLP
15   1455 SW Broadway, Suite 1500
     Portland, OR 97201-3412
16   Telephone: (503) 224-3092
     Facsimile: (503) 224-3176
17
     Attorneys for Defendants
18

19                              IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF OREGON
20
       WILLAMETTE RIVERKEEPER,
21

22                                      Plaintiff,          NO. 6:20-cv-01760-AA

23     v.                                                   Joint Notice of Settlement and Lodging
                                                            of Proposed Consent Decree Pending
24     CITY OF ALBANY; et al.,                              DOJ Review
25                                     Defendants.
26

                                                                                       Bricklin & Newman, LLP
                                                                                               Attorneys at Law
      Joint Notice of Settlement and Lodging of Proposed Consent Decree Pending          123 NW 36th Street, Suite 205
      DOJ Review - 1                                                                          Seattle, WA 98107
                                                                                             Tel. (206) 264-8600
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 1          Plaintiff Willamette Riverkeeper and Defendants City of Albany, et al., hereby provide notice
 2   to the Court that the Parties have settled the above-captioned matter and lodge the attached Proposed
 3
     Consent Decree, pending the conclusion of the required 45-day review period mandated by the Clean
 4
     Water Act and its regulations. 33 U.S.C. § 1251 et seq. and 40 C.F.R. § 135.5(b).
 5
            On March 8, 2022, Plaintiff’s undersigned counsel sent copies of the Proposed Consent Decree
 6

 7   to the Administrator, Environmental Protection Agency (“EPA”), as well as to the United States

 8   Department of Justice (”DOJ”), Citizen Suit Coordinator, Environment and Natural Resources

 9   Division Law and Policy Section, and the Acting Administrator of EPA Region 10 pursuant to the
10
     requirements of 40 CFR § 135.5.
11
            The citizen suit provision of the Clean Water Act provides that no consent judgment shall be
12
     entered in an action in which the United States is not a party prior to 45 days following the receipt of
13
     a copy of the proposed consent judgment by the Attorney General and the EPA Administrator. 33
14

15   U.S.C. § 1365(c)(3). The Parties submit the attached Proposed Consent Decree to the Court at this

16   time for informational purposes only. At the expiration of the 45-day review period set forth in 33
17   U.S.C. § 1365(c)(3), the Parties will jointly move the Court to enter the Proposed Consent Decree.
18
            DATED this 8th day of March, 2022.
19
                                                     Respectfully submitted, by:
20
                                                     s/ Elisabeth A. Holmes
21                                                   Elisabeth A. Holmes (OSB No. 120254)
22                                                   Willamette Riverkeeper

23                                                   s/ Bryan Telegin
                                                     Bryan Telegin (OSB No. 105253)
24                                                   Zachary K. Griefen (WSBA Bar No. 48608)
                                                     Admitted Pro Hac Vice
25                                                   Bricklin & Newman LLP
26
                                                     Attorneys for Plaintiff
                                                                                       Bricklin & Newman, LLP
                                                                                               Attorneys at Law
      Joint Notice of Settlement and Lodging of Proposed Consent Decree Pending          123 NW 36th Street, Suite 205
      DOJ Review - 2                                                                          Seattle, WA 98107
                                                                                             Tel. (206) 264-8600
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 1
                                                    s/ G. Kevin Kiely
 2                                                  G. Kevin Kiely, OSB No. 833950
 3                                                  James S. Kincaid, OSB No. 872773
                                                    Laura C. Maffei, OSB No. 993177
 4                                                  CABLE HUSTON LLP

 5                                                  Attorneys for Defendants
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                                                                                      Bricklin & Newman, LLP
                                                                                              Attorneys at Law
     Joint Notice of Settlement and Lodging of Proposed Consent Decree Pending          123 NW 36th Street, Suite 205
     DOJ Review - 3                                                                          Seattle, WA 98107
                                                                                            Tel. (206) 264-8600
